
		
OSCN Found Document:IN RE APPROVAL OF UNIFORM JUDGMENT OF ADJUDICATION AS A YOUTHFUL OFFENDER

					

				
  



				
					
					
						
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				IN RE APPROVAL OF UNIFORM JUDGMENT OF ADJUDICATION AS A YOUTHFUL OFFENDER2024 OK 6Decided: 02/12/2024THE SUPREME COURT OF THE STATE OF OKLAHOMA

Cite as: 2024 OK 6, __ P.3d __

				


In re: Approval of Uniform Judgment of Adjudication as a Youthful Offender


ORDER


¶1 The Court has reviewed the recommendation of the Oklahoma Supreme Court Juvenile Justice Oversight and Advisory Committee and hereby adopts the attached judgment of adjudication as a youthful offender, effective May 1, 2024.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE the 12th day of February, 2024.

/S/CHIEF JUSTICE


ALL JUSTICES CONCUR.


&nbsp;


&nbsp;
IN THE DISTRICT COURT OF _________________________ COUNTY
THE STATE OF OKLAHOMA




THE STATE OF OKLAHOMA,
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Plaintiff,
vs.
&nbsp;_____________________________________,
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Defendant.


)))))))))

Case No.&nbsp;&nbsp;&nbsp; CF/YO-20_____-______D.O.B.: ________________________________SS# (last 4): ____________________________



&nbsp;
JUDGMENT OF ADJUDICATION AS A YOUTHFUL OFFENDER
NOW, ON THIS ____ DAY OF _______________, 20_____ this matter comes on for sentencing of the Defendant as ayouthful offender. The Youthful Offender, ____________________, appears personally, and by and through his/her attorney ofrecord, ______________________, and the State appears personally, by and through, ____________________, Assistant District Attorney.
The Defendant, appears before this court having been adjudicated as a youthful offender on the _____ day of ________________,20_____, following:
&nbsp;



[ ] the entry of a plea of guilty
[ ] the entry of a plea of Nolo Contendre


[ ] having been adjudicated by a jury at trial
[ ] having been adjudicated by the court after waiving their right to a jury trial


[ ] other: ______________________________________________________________________________ to the crime(s) of:






Count 
Crime 
Statutory Reference


_____
___________________________________________________________________________
_____ O.S. _________


_____ 
___________________________________________________________________________
_____ O.S. _________


_____ 
___________________________________________________________________________ 
_____ O.S. _________


_____ 
___________________________________________________________________________ 
_____ O.S. _________



(If necessary, attach an additional sheet for additional counts)
and was sentenced as a youthful offender as follows:



Count
Sentenced to a term of:


_____
_________________________________________________________________________________________________


_____ 
_________________________________________________________________________________________________


_____ 
_________________________________________________________________________________________________


_____ 
_________________________________________________________________________________________________



&nbsp;(If necessary, attach an additional sheet for additional counts)
The sentence(s) are to be served: [ ] concurrently [ ] consecutive:_________________________________________________________________________________________________________
The Youthful Offender is ordered to pay fine(s), costs, fees, and restitution as follows:____________________________________
________________________________________________________________________________________________________
The Youthful Offender is placed in the: [ ] Custody OR [ ] Supervision of:
[ ] The Office of Juvenile Affairs or[ ] other: _________________________________________________________________________________________________[ ] The Office of Juvenile Affairs is ordered, pursuant to Okla. Stat. tit. 10A § 2-5-208(E), to prepare and file a written rehabilitation planwithin thirty (30) days of receiving notification of the placement of this youthful offender.[ ] other: _________________________________________________________________________________________________
_________________________________________________________________________________________________________
IT IS SO ORDERED, ON THIS _____ DAY OF ____________________, 20_____. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ________________________________________________&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; JUDGE OF THE DISTRICT COURT 
&nbsp;
&nbsp;




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